Case 21-30589-MBK                 Doc 2113       Filed 04/15/22 Entered 04/15/22 09:59:11                      Desc Main
                                               Document      Page 1 of 2


    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admitted pro hac vice)
    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


                                MODIFIED LOCAL FORM
         CERTIFICATION OF NO OBJECTION REGARDING MONTHLY FEE STATEMENT
          OF SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP FOR THE PERIOD OF
         ________________FEBRUARY 1, 2022 THROUGH FEBRUARY 28, 2022_____________
                                  DOCUMENT NO. 1915

The court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for Interim
Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] (the “Order”), compensation to
professionals on a monthly basis. Under the Order, objections to the Monthly Fee Statement filed on March
30, 2022 were to be filed and served not later than April 13, 2022. I, Paul R. DeFilippo certify that, as of
April 15, 2022, I have reviewed the court’s docket in this case and no answer, objection, or other responsive
pleading to the above Monthly Fee Statement has been filed.


1
             The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
             501 George Street, New Brunswick, New Jersey 08933.
Case 21-30589-MBK          Doc 2113      Filed 04/15/22 Entered 04/15/22 09:59:11                Desc Main
                                       Document      Page 2 of 2

Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the filing of this Certification.




 Date: April 15, 2022                                    ___/s/ Paul R. DeFilippo______________
                                                          Signature




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